       Case:1:22-cv-00329-BLW
      Case    23-35440, 10/05/2023, ID: 12805470,
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                                                                          FILED
                   UNITED STATES COURT OF APPEALS                           OCT 5 2023

                                                                       MOLLY C. DWYER, CLERK
                          FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




UNITED STATES OF AMERICA,                      No.    23-35440

            Plaintiff-Appellee,                D.C. No. 1:22-cv-00329-BLW
                                               District of Idaho,
v.                                             Boise

STATE OF IDAHO,
                                               ORDER
            Defendant-Appellant.



UNITED STATES OF AMERICA,                      No.    23-35450

            Plaintiff-Appellee,                D.C. No. 1:22-cv-00329-BLW
                                               District of Idaho,
v.                                             Boise

STATE OF IDAHO,

            Defendant,

 v.

MIKE MOYLE, Speaker of the Idaho
House of Representatives; CHUCK
WINDER, President Pro Tempore of the
Idaho Senate; THE SIXTY-SEVENTH
IDAHO LEGISLATURE, Proposed
Intevenor-Defendants,

            Movants-Appellants.
        Case:1:22-cv-00329-BLW
       Case    23-35440, 10/05/2023, ID: 12805470,
                                  Document         DktEntry:
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                                                      10/05/23    Page22ofof22




Before: S.R. THOMAS, Circuit Judge and En Banc Coordinator

      The United States’ Motion for Leave to File a Reply in Support of the

Emergency Motion for Reconsideration En Banc is granted. The Clerk is directed

to file the Reply in Support of the United States’ Emergency Motion at Docket

Entry No. 65.




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